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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 WILFRED LABOSSIERE,

                                 Plaintiff,

                           v.
                                                                 No. 21-CV-10538 (KMK)
 DOWNSTATE CORRECTIONAL FACILITY,
 JOHN DOE (OFFICER) BLOCK OFFICER OF                              ORDER OF SERVICE
 BLOCK 3 TO 11 SHIFT ON JULY 13, 2019, and
 N. BAXTER,

                                 Defendants.

KENNETH M. KARAS, United States District Judge:

        Plaintiff, who is currently incarcerated in Sing Sing Correctional Facility, brings this pro

se action under 42 U.S.C. § 1983, alleging that Defendants violated his rights when he was

incarcerated in Downstate Correctional Facility. By order dated February 18, 2022, Chief Judge

Swain granted Plaintiff’s request to proceed without prepayment of fees, that is, in forma

pauperis (“IFP”). (See Dkt. No. 9.) The Court directed service on Officer Baxter (“Baxter”) on

February 24, 2022, (see Dkt. No. 11), but the U.S. Marshals Service was unable to serve Baxter

because the facility at which Baxter worked, Downstate Correctional Facility, has closed, (see

Dkt. No. 14). The Court therefore entered a Valentin order on June 14, 2022 instructing the

Attorney General of the State of New York to provide an address where Baxter may be served.

(See Dkt. No. 17.) The Attorney General responded with Baxter’s current work address on

August 10, 2022. (See Dkt. No. 18.)

       The Court now directs service on Baxter once more. To allow Plaintiff to effect service

on Baxter through the U.S. Marshals Service, the Clerk of Court is instructed to fill out a U.S.

Marshals Service Process Receipt and Return form (“USM-285 form”) for this defendant. The

Clerk of Court is further instructed to issue a summons for Baxter and deliver to the U.S.
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Marshals Service all the paperwork necessary for the U.S. Marshals Service to effect service

upon Baxter.



SO ORDERED.

Dated:   August 12, 2022
         White Plains, New York

                                                        KENNETH M. KARAS
                                                       United States District Judge




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              DEFENDANT AND SERVICE ADDRESS


    Correction Officer Neil Baxter
    Shawangunk Correctional Facility
    200 Quick Road
    P.O. Box 750
    Wallkill, New York 12589-0750
